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10
                           UNITED STATES DISTRICT COURT

11                       CENTRAL DISTRICT OF CALIFORNIA
12
                                           Case No. 14-cv-03650-FMO (FFM)
13 CITY OF ALMATY,
                                           Consolidated with case no. 15-cv-02628-
14                     Plaintiff,          FMO (CW)
15               v.
                                           DEFENDANTS’ UNOPPOSED
16 VIKTOR KHRAPUNOV, et al.,               REQUEST FOR LEAVE TO FILE
                       Defendants.         OVERSIZE MEMORANDUM IN
17
                                           SUPPORT OF DEFENDANTS’
18                                         MOTION TO DISMISS FIRST
                                           CONSOLIDATED AMENDED
19
                                           COMPLAINT FOR FAILURE TO
20                                         STATE A CLAIM UNDER RULE
                                           12(b)(6)
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                                                             REQUEST FOR LEAVE TO
                                                       FILE OVERSIZE MEMORANDUM
                                                       Case No.: 14-cv-03650-FMO (FFM)
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 1        Defendants Madina Ablyazova; Iliyas Khrapunov; Leila Khrapunov; Viktor
 2 Khrapunov; Elvira Khrapunov a/k/a Elvira Kudryashova; Dmitry Kudryashov; RPM

 3 USA, LLC; RPM-Maro LLC; Maro Design LLC; Haute Hue LLC; 628 Holdings

 4 LLC; Candian International Ltd.; Crownway Ltd.; Vilder Company S.A.; World

 5 Health Networks, Inc.; ThirtyEight Enterprises, LLC; Elvira Kudryashova as Trustee

 6 of The Kasan Family Trust; and Dmitry Kudryashov as Trustee of The Kasan Family

 7 Trust, through their counsel of record, respectfully request leave to file an oversize

 8 memorandum in support of Defendants’ Motion to Dismiss First Consolidated

 9 Amended Complaint for failure to State a Claim, attached hereto as Exhibit A.

10 Although undersigned counsel has made every effort to comply with the page limit

11 dictated by this Court’s standing order, Defendants’ memorandum exceeds the 25-

12 page limit by three pages.

13        This request is made on the basis that Defendants’ Motion to Dismiss must
14 fully address each deficiency in the First Consolidated Amended Complaint

15 (“FCAC”) or risk waiver of such arguments. Almaty’s FCAC is 54 pages (Dkt. No.

16 198) and consists of 216 Paragraphs. The FCAC alleges five different causes of

17 action including two sprawling RICO claims under 18 U.S.C. § 1962 that are based

18 on three separate federal criminal statutes and allege conduct going back to 1997 in

19 Almaty, Kazakhstan. These claims present complicated legal issues relating to the

20 statute of limitations and extraterritorial application that required a thorough legal

21 analysis and application of Almaty’s lengthy allegations.

22        Moreover, as argued in the Motion to Dismiss, it is Defendants’ position that
23 Almaty’s claims here are barred by the doctrine of claim splitting due to an almost

24 identical case that Almaty filed in the Southern District of New York, City of Almaty,

25 et al. v. Ablyazov, et al., No. 15-cv-05345 (S.D.N.Y., Oct. 12, 2015). That argument

26 required Defendant’s comprehensive analysis and description of those proceedings
27 and relevant holdings.

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                                             1                   REQUEST FOR LEAVE TO
                                                           FILE OVERSIZE MEMORANDUM
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 1        Almaty’s counsel does not object to Defendants’ request to exceed this Court’s
 2 page limitation by three pages.

 3        For these reasons, Defendants respectfully request this Court grant leave to
 4 exceed the page limit for their Motion to Dismiss the First Consolidated Amended

 5 Complaint by four pages. A proposed order and Defendants’ proposed Motion to

 6 Dismiss First Consolidated Amended Complaint accompany this filing.

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 8 Dated: February 7, 2018                     Respectfully submitted,

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10                                             BOERSCH SHAPIRO LLP

11                                             _/s/Martha Boersch_________________
12                                             Martha Boersch

13                                             Attorneys for Defendants
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                                                         FILE OVERSIZE MEMORANDUM
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